       Case 1:19-cv-00440-RMB-JS Document 1 Filed 01/11/19 Page 1 of 5 PageID: 1



     Kimmel & Silverman, P.C.
1    30 East Butler Pike
     Ambler, PA 19002
2
     Telephone: (215) 540-8888
3
     Attorney of Record: Amy Bennecoff Ginsburg (AB0891)
     Attorney for Plaintiff
4
                                   UNITED STATES DISTRICT COURT
5                                            FOR THE
                                      DISTRICT OF NEW JERSEY
6
                                                     )
7    BRANDON MCCARTY,                                )     Case No.:
                                                     )
8
                      Plaintiff,                     )
9
                                                     )
                      v.                             )     COMPLAINT AND DEMAND FOR
10                                                   )     JURY TRIAL
     BANK OF AMERICA CORPORATION,                    )
11                                                   )
                      Defendant.                     )     (Unlawful Debt Collections Practices)
12                                                   )
                                                     )
13                                                   )
14
                                              COMPLAINT
15
            BRANDON MCCARTY (“Plaintiff”), by and through his attorneys, Kimmel &
16
     Silverman, P.C., alleges the following against BANK OF AMERICA CORPORATION
17
     (“Defendant”):
18
                                           INTRODUCTION
19
            1.        Plaintiff’s Complaint is based on Defendant’s repeated violations of the
20
     Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).
21

22                                   JURISDICTION AND VENUE

23          2.        This Court’s jurisdiction arises under 15 U.S.C. § 1692k(d), which states that

24   such actions may be brought and heard before “any appropriate United States district court

25   without regard to the amount in controversy,” and 28 U.S.C. § 1331, which grants this Court


                                                    -1-

                                         PLAINTIFF’S COMPLAINT
       Case 1:19-cv-00440-RMB-JS Document 1 Filed 01/11/19 Page 2 of 5 PageID: 2



     original jurisdiction of all civil actions arising under the laws of the United States. See Mims v.
1
     Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
2

3
            3.      Defendant regularly conducts business in the State of New Jersey therefore

4    personal jurisdiction is established.

5           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

6                                                  PARTIES
7           5.      Plaintiff is a natural person residing in Marlton, New Jersey 08053.
8
            6.      Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
9
            7.      Defendant is a corporation with its principal place of business located at Bank of
10
     America Corporation Center, Suite 220, Charlotte, NC 28255.
11
            8.      Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).
12
            9.      Defendant acted through its agents, employees, officers, members, directors,
13
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
14
                                       FACTUAL ALLEGATIONS
15

16          10.     Plaintiff has a cellular telephone.

17          11.     Plaintiff has only used this phone as a cellular telephone.

18          12.     Beginning in or around November 2017 and continuing through in or December

19   2017, Defendant placed repeated harassing telephone calls to Plaintiff’s cellular telephone,
20   typically calling Plaintiff multiple times each day.
21
            13.     During this time Defendant contacted Plaintiff using an automated telephone
22
     dialing system and/or pre-recorded voice.
23

24

25



                                                      -2-

                                             PLAINTIFF’S COMPLAINT
       Case 1:19-cv-00440-RMB-JS Document 1 Filed 01/11/19 Page 3 of 5 PageID: 3



            14.     Plaintiff knew that Defendant was contacting Plaintiff using an automated
1
     telephone dialing system and/or pre-recorded voice as calls began with a pre-recorded voice or
2

3
     message before calls were transferred to a live agent.

4           15.     Upon initial communication with Plaintiff in or around November 2017, Plaintiff

5    requested that Defendant stop calling.

6           16.     This was Plaintiff’s method of revoking all prior consent for Defendant to call
7    him on his cellular telephone.
8
            17.     Once Defendant was told the calls were unwanted and to stop, there was no
9
     lawful purpose to making further calls, nor was there any good faith reason to place calls.
10
            18.     However, Defendant ignored Plaintiff’s revocation of consent as well as repeated
11
     instructions to stop calling and instead continued to call him.
12
            19.     Upon information and belief, Defendant conducts business in a manner which
13
     violates the Telephone Consumer Protection Act.
14

15
                                          COUNT I
16                              DEFENDANT VIOLATED THE TCPA

17          20.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth

18   at length herein.

19          21.     Defendant initiated automated calls to Plaintiff using an automatic telephone
20   dialing system.
21
            22.     Defendant’s calls to Plaintiff were not made for “emergency purposes.”
22
            23.     Defendant’s calls to Plaintiff, on and after late November 2017, were not made
23
     with Plaintiff’s prior express consent.
24

25



                                                     -3-

                                         PLAINTIFF’S COMPLAINT
       Case 1:19-cv-00440-RMB-JS Document 1 Filed 01/11/19 Page 4 of 5 PageID: 4



            24.     Defendant’s acts as described above were done with malicious, intentional,
1
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
2

3
     purpose of harassing Plaintiff.

4           25.     The acts and/or omissions of Defendant were done unfairly, unlawfully,

5    intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal

6    defense, legal justification or legal excuse.
7           26.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
8
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and treble
9
     damages.
10

11
            WHEREFORE, Plaintiff, BRANDON MCCARTY, respectfully prays for judgment as
12
     follows:
13
                     a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
14
                     b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
15

16                       15 U.S.C. § 1692k(a)(2)(A);

17                   c. All reasonable attorneys’ fees, witness fees, court costs and other litigation

18                       costs, pursuant to 15 U.S.C. § 1693k(a)(3);

19                  d. All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
20                  e. Statutory damages of $500.00 per violative telephone call ursuant to 47
21
                         U.S.C. § 227(b)(3)(B);
22
                    f. Treble damages of $1,500.00 per violative telephone call pursuant to 47
23
                         U.S.C. §227(b)(3);
24
                    g.   Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
25



                                                     -4-

                                          PLAINTIFF’S COMPLAINT
       Case 1:19-cv-00440-RMB-JS Document 1 Filed 01/11/19 Page 5 of 5 PageID: 5



                     h.   Any other relief deemed appropriate by this Honorable Court.
1
                                     DEMAND FOR JURY TRIAL
2

3
             PLEASE TAKE NOTICE that Plaintiff, BRANDON MCCARTY, demands a jury trial

4    in this case.

5                          CERTIFICATION PURSUANT TO L.CIV.R.11.2

6            I hereby certify pursuant to Local Civil Rule 11.2 that this matter in controversy is not
7    subject to any other action pending in any court, arbitration or administrative proceeding.
8

9
                                                  Respectfully submitted,
10

11     Dated: 1/11/19                             /s/ Amy L. Bennecoff Ginsburg
                                                  Amy L. Bennecoff Ginsburg
12                                                Kimmel & Silverman, P.C.
                                                  30 East Butler Pike
13                                                Ambler, Pennsylvania 19002
                                                  Phone: (215) 540-8888
14
                                                  Facsimile: (877) 788-2864
                                                  Email: aginsburg@creditlaw.com
15

16

17

18

19

20

21

22

23

24

25



                                                    -5-

                                         PLAINTIFF’S COMPLAINT
